
374 U.S. 488 (1963)
WALKER
v.
WALKER, WARDEN, ET AL.
No. 180, Misc.
Supreme Court of United States.
Decided June 17, 1963.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT.
Petitioner pro se.
Jack P. F. Gremillion, Attorney General of Louisiana, and Scallan E. Walsh, Assistant Attorney General, for respondents.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case is remanded for further consideration in light of Gideon v. Wainwright, 372 U. S. 335.
